Case 6:23-cv-06728-FPG Document 4-7 Filed 01/23/24 Page 1 of 3




                EXHIBIT 7

 EMAIL REGARDING
DEFAULT JUDGMENT
           Case 6:23-cv-06728-FPG Document 4-7 Filed 01/23/24 Page 2 of 3


From:             steve@wellspc.com
To:               "David Kasell"
Cc:               jason@jasongang.com; will@wellspc.com; julie@wellspc.com
Subject:          RE: NYSCEF Alert: Monroe - Other Matters - Contract - Other - <SUMMONS + COMPLAINT> E2023003269
                  (Spartan Business Solutions LLC v. Marquis Cattle Company Inc et al)
Date:             Monday, December 18, 2023 1:30:04 PM


David,

I am following up on email below and a voicemail that I left for you at 1:24 p.m. this afternoon. Your
clients are in default in responding to the complaint in this action. Please file an answer by
December 21, 2023. If you fail to do so, we will move for a default judgment on 12/22.

Jules, calendar for Friday.

Steve

Steven W. Wells
_______________________________

WELLS LAW P.C.

229 Warner Road
Lancaster, New York 14086
(716) 983-4750
steve@wellspc.com


From: steve@wellspc.com <steve@wellspc.com>
Sent: Tuesday, December 12, 2023 9:28 PM
To: 'David Kasell' <david@merchantcashdefense.com>
Cc: jason@jasongang.com; will@wellspc.com; julie@wellspc.com
Subject: FW: NYSCEF Alert: Monroe - Other Matters - Contract - Other - <SUMMONS + COMPLAINT>
E2023003269 (Spartan Business Solutions LLC v. Marquis Cattle Company Inc et al)

David,

Your clients’ time to respond to the complaint has expired . Please file an answer by Friday to avoid
us filing a motion for default judgment.

Thanks,

Steve

Steven W. Wells
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WELLS LAW P.C.
          Case 6:23-cv-06728-FPG Document 4-7 Filed 01/23/24 Page 3 of 3


229 Warner Road
Lancaster, New York 14086
(716) 983-4750
steve@wellspc.com


      From: efile@nycourts.gov
      Date: December 12, 2023 at 2:12:05 PM CST
      To: evelyn@jasongang.com, dkasellesq@gmail.com, mrulison@nycourts.gov,
      will@wellspc.com, jj15951@gmail.com, steve@wellspc.com, julie@wellspc.com,
      jason@jasongang.com, max@jasongang.com, lpallen@nycourts.gov,
      amanda@jasongang.com, marie@jasongang.com
      Subject: NYSCEF Alert: Monroe - Other Matters - Contract - Other - <SUMMONS +
      COMPLAINT> E2023003269 (Spartan Business Solutions LLC v. Marquis Cattle
      Company Inc et al)

      ﻿

                                  Monroe County Supreme
                                  Court
                                  CASE JUDGE ASSIGNED
                                  12/12/2023

      On 12/12/2023, Judge Kevin M. Nasca was assigned to the case listed below.


      Case Information
      Index #: E2023003269
      Caption: Spartan Business Solutions LLC v. Marquis Cattle Company Inc et al
      Assigned Case Judge: Kevin M. Nasca

      NOTICE: This e-mail is intended only for the named recipient and for the purposes of
      the New York State Courts E-Filing System. If you are neither the intended recipient nor
      a person designated to receive messages on behalf of the intended recipient, notify the
      sender immediately.

      If you are unsure of the contents or origin of this email, it is advised to NOT click on
      any links provided. Instead, log into your NYSCEF account to access the documents
      referred to in this email. Thank you.
